Case 1:19-cv-21391-KMW Document 6 Entered on FLSD Docket 05/09/2019 Page 1 of 2

RETURN OF SERVICE

State of Florida County of

Case Number: 1:19-CV-21391-KMW

Plaintiff:
KENDRA MOORE

Vs.

Defendant:
KING GAME, INC D/B/A DR. BILLARDS, AND MARC O., FITZ-RITSON

For:

Peter Bober

BOBER & BOBER, P.A.
1930 Tyler Street
Hollywood, FL 33328

Received by Pineiro Process Servers & Court Couriers on the 13th day of April, 2019 at 9:59 pm to be
served on KING GAME, INC D/B/A DR BILLARDS REGISTERED AGENT: MARC O FITZ-RITSON,
16600 N.W. 54 AVE, MIAMI, FL 33015.

 

 

 

|, Susan Pineiro, do hereby affirm that on the 18th day of April, 2019 at 11:56 am, |:
|

,
served a CORPORATION by delivering a true copy of the SUMMONS IN A CIVIL ACTION, COMPLAINT
AND EXHIBITS with the date and hour of service endorsed thereon by me, to: MARC O FITZ-RITSON as

4

REGISTERED AGENT for KING GAME, INC D/B/A DR BILLARDS, at the address of 159 STREET AND
51 AVE N.W., MIAMI, FL 33015, and informed said person of the contents therein, in compliance with
state statutes.

|
Additional Information pertaining to this Service:
THE BUSINESS AT THE ADDRESS WAS CLOSED SO | LOCATED A PHONE NUMBER AND

SPOKE TO MR. FITZ-RITSON WHO AGREED TO MEET ME AT 159 STREET AND N.W. 51 AVE

 

 
Case 1:19-cv-21391-KMW. Document 6 Entered on FLSD Docket 05/09/2019 . Page 2 of 2
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RETURN OF SERVICE For 1:19-CV-21391-KMW

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing, in the judicial circuit in which the process was served.Under penalties of
perjury, | declare that | have read the forgoing instrument and the facts stated in it are true. Pursuant to
F.S. 92.525(2). Notary not required.

 

- Susan Pineiro
CPS#1908
Pineiro Process Servers & Court Couriers
7036 S.W. 23 Street

Davie, FL 33317
(954) 560-1052

Our Job Serial Number: SDP-2019001734

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